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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
www. fisb.uscourts.qov

In re: Case No. O7~ 19345 - BKC ~RBR
Leavitt and Sens, LLC Chapter
aFlorida [smited lich: ty company, etgl.

Debtor /

 

APPLICATION TO WITHDRAW UNCLAIMED FUNDS

Applicant, Alan & Alisen fetrie

applies to this court for entry of an order directing the clerk of the court to remit to the
applicant the sum of $2, ¥ SO , said funds having been deposited into the
Treasury of the United NF pursuant to 28 U.S.C. §2041 as unclaimed funds held in the
name of an lissy Fetrie . Applicant further states that:

1. (Indicate one of the following items:)

 

x Applicant is the individual listed in the “Notice of Deposit of Funds with the U.S.

Bankruptcy Court Clerk” under whose name these funds were deposited and states
that no other application for this claim has been submitted by or at the request of
this applicant. If funds were deposited in the names of both husband and wife, both
must sign this application, or if one spouse is requesting release of funds in the
name of that spouse only, applicant must attach a notarized affidavit stating why the
funds should be released to only one spouse and not in the name of both. Also
attached is a copy ofan official government photo id of applicant to prove applicant's
identity.

__ Applicant is either a family member or other authorized personal representative
of an incapacitated or deceased individual in whose name funds were deposited or
a successor in interest to the individual or business under whose name the funds
were deposited. An original “power of attorney” conforming to the Official
Bankruptcy Form and/or other supporting documents, including probate
documents which indicate applicant’s entitlement to this claim are attached
and made a part of this application. Also attached is a copy of an official
government photo id of applicant to prove applicant’s identity.

__ Applicant is the duly authorized representative for the business or corporation
listed in the “Notice of Deposit of Funds with the U.S. Bankruptcy Court Clerk” under

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whose name these funds were deposited. Applicant has reviewed all applicable
records and states that no other application for this claim has been submitted by or
at the request of this claimant. A Local Form “Affidavit of Claimant” (LF-28) and
duly executed corporate power of attorney are attached and made a part of
this application.

_____ Applicant is an attorney or a "funds locator" who has been retained by an
individual or business or corporation under whose name the funds were deposited.
Applicant has obtained an original "power of attorney" from the individual claimant
or the duly authorized representative for the business or corporation named as the
claimant in the notice of deposit of funds into the court. An original “power of
attorney”, conforming to the Official Bankruptcy Form and a Local Form
“Affidavit of Claimant” (LF-28) are attached and made a part of this
application.

 

____ Applicant is an attorney or a “funds locator" who has been retained by the
debtor in this case to claim funds deposited in the name of another individual or
business or corporation. Applicant has obtained and attached to this application an
original “power of attorney” from the debtor (if joint case, both debtors) who are
seeking to claim these funds. Applicant has also attached to this application a
notarized affidavit from the debtor detailing debtor’s right to the funds deposited in
the name of the creditor and has attached copies of any exhibits to substantiate this
right. Also attached is a copy of an official government photo id of the debtor to
prove debtor’s identity. The applicant has also attached a certificate of service
reflecting that a copy of this application and required attachments has been served
on the creditor whose funds the debtor is seeking to claim and on the trustee who
deposited the funds with the clerk of court. If this is a joint debtor case, both
husband and wife must sign the power of attorney, or if one spouse is requesting
release of funds in the name of that spouse only, applicant must attach a notarized
affidavit stating why the funds should be released to only one spouse and not in the
name of both.

 

__ Applicant is the debtor seeking to claim funds deposited in the name of another
individual or business or corporation. Applicant has attached to this application a
sworn affidavit detailing debtor’s right to the funds deposited in the name of the
creditor and has attached copies of any exhibits to substantiate this right. Also
attached is a copy of an official government photo id of applicant to prove debtor's
identity. The debtor has also attached a certificate of service reflecting that a copy
of this application and required attachments has been served on the creditor whose
funds the debtor is seeking to claim and on the trustee who deposited the funds with
the clerk of court. If this is a joint case, both husband and wife must sign this
application, or if one spouse is requesting release of funds in the name of that
spouse only, applicant must attach a notarized affidavit stating why the funds should
be released to only one spouse and not in the name of both.

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2. Applicant has made sufficient inquiry and has no knowledge that this claim has
been previously paid, that any other application for this claim is currently pending
before this court, or that any party other than the applicant is entitled to submit an

application for this claim.

3. Applicant has provided notice to the U.S. Attorney pursuant to 28 U.S.C. §2042.

Dated: S| b/ MY

Retrie ‘Allen Alicon

Name Under Which Funds Were Deposited
01-19 845"

Claim Number

_Alanw BAlison Peri QV
Name of Party On Whose Behaif
Application Was Filed*

Address: [27 2 Grady Lone

Cborman am Xu.

Evite ten Vobu

Signature of Applicant
(Note: In addition to signing, complete all
information below)

Last Four Digits of SS#__- 9 FO |

Tax ID (EIN#) 1/5 - 42-38 fl
Colomen Alavi felriw

 

 

 

 

 

‘ Print Name and Title of Applicant .
Champions bate FL Elizabeth Alissn Rtrie
33346
Print Sey Name
1R7TZ GC Grad La ye
Print Street Address

Chompi ons Gate, FL 339%

Print City ahd State

BU-277 -7OG!

Telephone (including area code)

*Attach copy of official goverriment photo id for all parties on whose behalf this application

is being filed.

Coven Wn fe

Sworn to and Subscribed before me

on 6//4

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NOTARY PUBLIC, v LARGE

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BISOI Jd # UOISSIUIOD

 

 

 

 

   
 

  

ERIK RUSCETTE
MY COMMISSION # FF 018450

a 3 EXPIRES: July 31, 2017
138 \G8" Bonded Thru Notary Public Underwriters

 
     

 

 

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& fF tage Canwest hor
UWS Seanirwtn,

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
www. fisb.uscourts.gov

In re: Case No. OT [9045 -BRO -RBR

Leo vif aud So Chapter
a Fla de linet ab i company, eFal

 

 

Debtor /
AFFIDAVIT OF CLAIMANT
‘ © re
We, Alay & Alison etrie am (indicate status of
claimant)

b<J the individual creditor (e-autherized-personal-representative-ofthe
ndiidtatcrediton in whose name funds were deposited with the court wRe-has

 

 

oT half: or

( )the duly authorized representative for the claimant "business"
; Or

 

 

(_ ) the debtor claiming funds deposited in the name of a creditor in this case
who has granted a power of attorney to
a “funds locator” or attorney, to subrnit an application on my behalf; or

 

(_ ) the debtor claiming funds deposited in the name of the debtor in this case
who has granted a power of attorney to
a “funds locator’ or attorney, to submit an application on my behalf; or

 

( )the duly authorized representative for claimant "business" as indicated in the
attached corporate power of attorney who has granted a power of attorney to
a “funds locator” or attorney,

to submit an application to withdraw unclaimed funds on my behalf;

and | am seeking payment of unclaimed funds a the ‘Alor Al, $2,450
deposited in this court in the na eo ison and
representing claim number_Sc. “ti Al claim was filed write “scheduled"

in blank space).

 

2. Claimant History: Substantiate claimant's right to funds, including but not
limited to documents relating to sale of company, i.e. purchase agreements and/or
stipulation by prior and new owner as to right of ownership of funds. Attach certified
copies of all necessary documentation, including those which establish the chain of

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ownership of the original corporate claimant. Also attach a copy of an official
government photo id to prove your identity.

3. | (or the “business” | represent as claimant) have neither previously received
remittance for these funds nor have contracted with any other party other than the
person named as a “funds locator” or attorney in paragraph one above to recover these
funds.

| hereby certify that the foregoing statements are true and correct to the best of

my knowledge and belief. _
Signature of claimant or wan e of “business
Dated: 5 fe | IY Cltinan Hon letrie ElzrbotbAy con etre

print name

 

title

$80]

Last Four Digits of Social Security # or Tax ID# (EIN #)
(Note: attach a copy of an official government photo
id such as a driver's license or passport’)

1272 Grooly Lane; Chong ons bik FL BAY

address 7

321-277-706)

Phone number

 

 

 

 

 

signature of joint debtor (if applicable)

_
print name

Co
Last Four Digits of Social Security # or Tax ID# (EIN #)

~ (Note: attach a copy of an official government photo
Celia, b hea id such as a driver's license or passport’)
Sworn to and Subscribed before me
on Y .

NOTARY PUBLIC, AT LARGE

STATE OF Hlav.dé

 

 

  

  

ERIK RUSCETTE
MY COMMISSION # FF 018450
EXPIRES: July 31, 2017
Bonded Thru Notary Public Underwriters

ee ee a

  

 

s FERNANDO GARCIA BD Flaws Drtireg hte
SAR | Notary Pubic, state of Florida OS F2er Ti rEns

| Commission # FF 16519
LP-28 (rev. 14/01 My comm. expires May 8,2017 Page 2 of 2

 

 

 

 
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Bank of America check #574, dated 05/05/09, in the amount of $2,450.00 was undelivered to our
current address, 1272 Grady Lane, Champions Gate, FL 33896, and not forwarded from our
previous address, 112 Avery Lake Drive, Winter Springs, FL 32708, until several months after it
was void. A copy of the check is attached as Exhibit 1. Proof of our identities is attached as
Exhibit 2. Proof of our previous address, 112 Avery Lake Drive, Winter Springs, FL 32708, is
attached as Exhibit 3.

Local Form K
 

      
 
   
 
    

oo.o@~se 07-19845-RBR Doc 6361 BANK /OF AMERICA! NA. CHECK NUMBER
Deposit Holders TMAN, PL INIS' SMER CONNECTION SIA 5
ONE BISCAYNE TOWER S2-ani10 TX fr

 

SUITE 1800 [_ DATE sj SC AMOUNT

 

 

CASE NUMBER
_07-19845 RBR Debtor: LEVITT AND SONS, LLC

 

 

 

         
 
   
  

RUSTEE/ DEBTOR IN POSSESSION/ASSIGNEE
THIS CHECK VOID AFTER 90 DAYS

Set

  
 

a0

 

 

Date: 05/05/09 Check Number: 574 Amount: 2,450.00

 

 

 

Case Number: 07-19845 RBR
Debtor Name: LEVITT AND SONS, LLC

 

Paid To: _ Petrie, Allen & Alison Trustee: JAMES S. FELTMAN, PLAN ADMINISTRATOR
112 Avery Lake Dr
Winter Springs,FL 32708 ONE BISCAYNE TOWER
SUITE 1800
MIAMI, FL 33131

 

 

Description: Claim Scheduled, Payment 100.00% Distribution on Priority Claim Deposit Holders

 

 

 

 

Bank Account Number: 3758903773

 

 

 

EYHIBIT *]
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AVERY PARK HOMEOWNER’S
ASSOCIATION, INC.

March 2, 2004

C. Alan & E. Alison Petrie
112 Avery Lake Drive
Winter Springs, FL 32708

Dear Alan & Alison:

As managing agent for Avery Park Homeowners, Association, the Board of Directors
requested that I write you and welcome you to the community.

Enclosed is a copy of the Covenants & Restrictions for your files. We also have a
website at averyparknews.com. The website is designed to keep homeowners up to date
_ with the latest neighborhood information and is sponsored by one of our homeowners. If
you plan on making any alterations, additions, or changes to the exterior of the property,
an ARB application must be submitted and approved prior to commencement of any
work. A copy of the application and instruction sheet is included in this letter for your
convenience for the future, and it can also be printed from the website.

If you have not already submitted your information to be programmed into the gate
system, please let me know ASAP, so that can be done.

We look forward to your involvement in the community and welcome your participation
on one of our committees. Feel free to call me at any time if you should have any
questions regarding the Association.

 

President

Enclosure
Cc: ‘File

KyHIBIT #3

Managed by: Mark Management, Inc.
491 N. S.R. 434, Suite 125, Altamonte Springs, FL 32714-2182
Malling Address: P.O. Box 160580, Altamonte Springs, FL. 32716-0580
Voice: 407-862.2292 ext. 10 ¢ Fax: 407-862.1819 ¢ email: mk@markmgmt.com
